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                          UNITED STATES DISTRICT COURT
                      DISTRICT OF COLORADO, DENVER DIVISION

Mellissa Umphenour, an individual, on her
own behalf, and on behalf of LH, her minor
child,

                Plaintiffs,
                                                       CASE NO. 16-cv-03006-CBS
         v.

WESTWOODS STATION LLC,

                Defendants.


                                  NOTICE OF SETTLEMENT

         Plaintiff Mellissa Umphenour (“Plaintiff”) and Defendant Westwoods Station LLC

(“Defendant”) hereby submit this Notice of Settlement to notify the Court that Plaintiff and

Defendant have reached a settlement in this case, which fully resolves the claims herein. The

parties respectfully request that all matters currently on calendar be vacated and request 90 days

in which to file the Joint Stipulation for Dismissal with prejudice as to all parties.

         I, Karla E. Sanchez, hereby certify that the content of this document is acceptable to

James R. Carr, counsel for Plaintiff, and that Mr. Carr has provided his authorization to affix his

electronic signature to this document.



DATED: February 10, 2017

By: /s/ Karla E. Sanchez                        By: /s/ James R. Carr (w/ consent)
One of Defendant’s Attorneys                    One of Plaintiff’s Attorneys

Karla E. Sanchez                                James R. Carr
SEYFARTH SHAW LLP                               ADA JUSTICE ADVOCATES
131 South Dearborn Street, Suite 2400           4800 Baseline Road, Suite E104-289
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                                  CERTIFICATE OF SERVICE

         I, Karla E. Sanchez, an attorney, do hereby certify that, on February 10, 2017, I have

caused a true and correct copy of the foregoing NOTICE OF SETTLEMENT to be filed with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

following:

                               James R. Carr
                               ADA JUSTICE ADVOCATES
                               4800 Baseline Road, Suite E104-289
                               Boulder, Colorado 80303
                               (303) 963-9840 – Telephone
                               jcarr@adajustice.com – Email


                                               /s/ Karla E. Sanchez




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